Case 3:17-cv-00072-NKM-JCH Document 1383-4 Filed 11/02/21 Page 1 of 6 Pageid#:
                                  23453




                   EXHIBIT D
  Case 3:17-cv-00072-NKM-JCH Document 1383-4 Filed 11/02/21 Page 2 of 6 Pageid#:
                                    23454
                                                                           Page 162
·1· · · · · · · · ·Samantha M. Froelich
·2· ·like to start helping, aiding in the process
·3· ·of de-radicalizing other people.
·4· · · · · Q.· ·And why is that something that you
·5· ·want to do?
·6· · · · · A.· ·I think it's important to know
·7· ·that ideology can be condemned, but people
·8· ·until they take certain action and do it with
·9· ·no remorse, no person should be condemned.
10· ·Everyone should have a chance at redemption.
11· ·If I were to condemn everyone in the
12· ·Alt Right, all of these people, anyone that I
13· ·know as -- as, you know, less than or subhuman
14· ·or trash or whatever, I would also be
15· ·condemning myself.· And I am living proof that
16· ·it's possible.· I -- I don't want to leave
17· ·anyone else out of that.
18· · · · · · · ·MR. BLOCH:· I have nothing further.
19· · · · · · · ·MS. PHILLIPS:· Mike, you want to ask
20· · · · ·them on the phone if they have anything?
21· · · · · · · ·MR. BLOCH:· Does defense counsel on
22· · · · ·the phone have any questions?
23· · · · · · · ·MR. KOLENICH:· Yes, I have one or
24· · · · ·two questions.· Thank you.
25· · · · · · · ·COURT REPORTER:· Who's speaking?


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  Case 3:17-cv-00072-NKM-JCH Document 1383-4 Filed 11/02/21 Page 3 of 6 Pageid#:
                                    23455
                                                                           Page 163
·1· · · · · · · · ·Samantha M. Froelich
·2· · · · · · · ·MS. PHILLIPS:· Who is that?· Sorry.
·3· · · · · · · ·MR. KOLENICH:· Sorry.· This is Jim
·4· · · · ·Kolenich representing -- or one of the
·5· · · · ·attorneys representing Identity Evropa.
·6· ·EXAMINATION
·7· ·BY MR. KOLENICH:
·8· · · · · Q.· ·Ma'am, earlier you testified
·9· ·regarding the phrase "Holohoax."
10· · · · · · · ·Do you recall that?
11· · · · · A.· ·Yes.
12· · · · · Q.· ·So is it fair to say that your
13· ·answer was that it meant that not enough -- or
14· ·one of the things it meant was that not enough
15· ·Jews had been killed during World War II?
16· · · · · A.· ·I'm sorry.· Can you -- can you
17· ·rephrase that?
18· · · · · Q.· ·Yes.· I understood you to say that
19· ·one of the meanings for Holohoax among the
20· ·Alt Right was that not enough Jews had been
21· ·killed during the Holocaust; is that accurate?
22· · · · · A.· ·One of the interpretations of the
23· ·word "Holohoax" is that not enough Jews were
24· ·killed during World War II.
25· · · · · Q.· ·Now, is it your testimony that one


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  Case 3:17-cv-00072-NKM-JCH Document 1383-4 Filed 11/02/21 Page 4 of 6 Pageid#:
                                    23456
                                                                           Page 164
·1· · · · · · · · ·Samantha M. Froelich
·2· ·of the goals of Identity Evropa when you were
·3· ·a member was to murder Jews?
·4· · · · · A.· ·That is not my testimony.
·5· · · · · Q.· ·Okay.· So to be clear, what did
·6· ·Identity Evropa members or any Alt Right
·7· ·member mean by not enough Jews were killed?
·8· · · · · A.· ·When I had first joined, I was
·9· ·talking to someone in Identity Evropa and they
10· ·had said to me that one of the slogans that
11· ·you get used to is, "Welcome to the Alt Right
12· ·where the Holocaust never happened, but we
13· ·want it to happen again."
14· · · · · Q.· ·Okay.· I understand that.· And
15· ·there's an awful lot of questionable lingo in
16· ·the Alt Right, I think we can all agree, but,
17· ·to your knowledge, and for the record, there
18· ·never was any actual plan to harm or kill Jews
19· ·among members of Identity Evropa; is that
20· ·accurate?
21· · · · · A.· ·I never saw a listed or tangible
22· ·plan, no.
23· · · · · · · ·MR. BLOCH:· I object to form on that
24· · · · ·last question.
25· ·BY MR. KOLENICH:


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  Case 3:17-cv-00072-NKM-JCH Document 1383-4 Filed 11/02/21 Page 5 of 6 Pageid#:
                                    23457
                                                                           Page 165
·1· · · · · · · · ·Samantha M. Froelich
·2· · · · · Q.· ·And was there any plan to harm or
·3· ·kill any other racial or religious minority?
·4· · · · · · · ·MR. BLOCH:· Object to form.
·5· · · · · · · ·THE WITNESS:· Do I still have to
·6· · · · ·answer?
·7· · · · · · · ·MR. BLOCH:· Yes.
·8· · · · · · · ·THE WITNESS:· I'm sorry.· Can you
·9· · · · ·repeat that?· Sorry.
10· ·BY MR. KOLENICH:
11· · · · · Q.· ·Was there any plan among Identity
12· ·Evropa to harm or kill any other racial or
13· ·religious minority?
14· · · · · · · ·MR. BLOCH:· Object to form.
15· · · · · · · ·THE WITNESS:· I did not see any
16· · · · ·plans for that.
17· ·BY MR. KOLENICH:
18· · · · · Q.· ·Thank you.· Now, you testified
19· ·earlier that you were at Richard Spencer's
20· ·home during which time there was some planning
21· ·for Unite the Right; is that accurate?
22· · · · · A.· ·Yes.
23· · · · · Q.· ·Did you call the police and report
24· ·any of this planning?
25· · · · · A.· ·No.


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  Case 3:17-cv-00072-NKM-JCH Document 1383-4 Filed 11/02/21 Page 6 of 6 Pageid#:
                                    23458
                                                                           Page 166
·1· · · · · · · · ·Samantha M. Froelich
·2· · · · · Q.· ·Since Unite the Right, have you
·3· ·called the police and reported anyone for the
·4· ·commission of a crime?
·5· · · · · A.· ·I am in touch with law
·6· ·enforcement.
·7· · · · · Q.· ·Okay.· Thank you.
·8· · · · · · · ·Earlier you testified that members
·9· ·of Identity Evropa would have been very
10· ·comfortable forcing people out of their homes;
11· ·is that right?
12· · · · · A.· ·I never said that.
13· · · · · · · ·MR. BLOCH:· Object to form.
14· ·BY MR. KOLENICH:
15· · · · · Q.· ·Okay.· So, to your knowledge, no
16· ·member of Identity Evropa ever said they would
17· ·be comfortable forcing American citizens out
18· ·of their homes?
19· · · · · · · ·MR. BLOCH:· Object to form.
20· · · · · · · ·THE WITNESS:· No.
21· · · · · · · ·MR. KOLENICH:· Okay.· Thank you very
22· · · · ·much.· I have no further questions.
23· · · · · · · ·MR. BLOCH:· All right.· Nothing from
24· · · · ·Mr. Campbell?
25· · · · · · · ·(No reply.)


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